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                   EXHIBIT 7
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                                       FROM THE DESK OF
                                          DANNY GLOVER
                                     2625 Alcatraz Avenue, #243
                                      Berkeley, CA 94705 USA
                                        Tel: 1-510 450 2500
                                        Fax: 1-510 450 2506


                                        December 29, 2020



I have had opportunity of working with hotel workers in the fight for better wages and working
conditions for more than a decade. I have also had the opportunity of working with manufacturing
workers and supporting workers internationally. My most memorable and proudest moments have
been my work with Dennis Williams for nearly 6 years with United Auto Workers and on behalf of
the Nissan workers in Mississippi.

In Mississippi, Dennis Williams as President of the UAW built a unique unionization campaign that
married civil rights and labor rights. The union launched its campaign in 2013 with the assistance
of myself, local clergy and politicians to serve over 6,000 workers in a movement for equitable
working conditions, better benefits and wages.

 Over the 6 years that I worked closely with Dennis I saw his devotion to the UAW and how he used
his authority to fight for workers' justice and bring worldwide attention to the movement of the
workers and the inequities they faced. There has been no one that I have seen put themselves in
the frontlines of the union struggle and with such generosity and openness as Dennis Williams. The
idea of service has been a hallmark of Dennis's career, always using his platform to represent a just
world for workers and helping to build the UAW as one of the most important unions in the world.
Most importantly he laid the groundwork for workers to assert their own capacity and
empowerment. Without Dennis’s steadfast leadership and support of workers’ rights our campaign
would not have reached the level of success that it did.

I stand by Dennis Williams and continue to support him in his retirement, as I am sure he will
continue his hallmark of service for workers' civil and labor rights.


Sincerely,


Danny Glover
Actor/Humanitarian
